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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  JOHN A. SOSINAVAGE,
                                              HONORABLE JEROME B. SIMANDLE
                         Plaintiff,

         v.                                       Civil No. 14-3292 (JBS-AMD)

  JOHN SCOTT THOMSON, et al.,
                                                         MEMORANDUM OPINION
                         Defendants.                        AND FINDINGS


 SIMANDLE, District Judge:

       This matter is before the Court by way of an unopposed

 application for reasonable legal fees and expenses [Docket Item

 225],    filed     by    Defendants     Camden    County,    Police   Chief   Scott

 Thomson, Deputy Chief Orlando Cuevas, and Deputy Chief Michael

 Lynch in their capacity as employees of the County of Camden and

 County     of    Camden    Police     Department    (hereinafter,     “the    County

 Defendants”) pursuant to the Court’s Order dated February 8, 2019

 [Docket Item 224], Rule 11, FED. R. CIV. P, and the New Jersey

 Frivolous Claims Act, N.J.S.A. § 2A:15-59.1. The Court finds as

 follows:

       1.        As relevant here, on February 8, 2019, the Court granted

 the County Defendants’ renewed motion for sanctions and awarded

 Rule 11 sanctions in favor of the County Defendants and against

 Plaintiff’s        attorney,    Ms.     Cheryl     L.    Cooper,   Esq.,   for   the

 reasonable attorney’s fees and expenses incurred since October 9,
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 2015, the date of filing of the filing of the Second Amended

 Complaint. Sosinavage v. Thomson, 2019 WL 494824, at *5 (D.N.J.

 Feb. 8, 2019). As the Court then summarized: “Simply, for more

 than three years, Ms. Cooper pursued a failure-to-hire case against

 the County Defendants that she knew or should have known was

 factually and legal frivolous, despite clear warning of precisely

 these deficiencies in 2015.” Id. at *4.

       2.    The    Court   further   noted    that,   because     Plaintiff’s

 attorney, Ms. Cooper, is a solo practitioner, she may have limited

 financial resources from which to compensate the County Defendants

 for the fees and expenses they have incurred in this case. Id. at

 *5. For these reasons, the Court ordered that, within fourteen

 (14) days of the filing of the County Defendants’ fee petition:

       [I]n connection with her filing of any objections to the
       amounts of the County Defendants’ claimed fees and
       expenses, . . . Ms. Cooper [may] submit an affidavit
       (under seal but provided to Ms. O’Hearn as confidential
       information) addressing her ability to pay, which the
       Court will consider in determining the appropriate
       amount of reasonable fees and expenses required as a
       deterrent to be awarded to the County Defendants and
       paid by counsel for Plaintiff.

 Id. The County Defendants’ fee petition was filed on February 22,

 2019 [Docket Item 225], and Ms. Cooper’s opposition and financial

 hardship affidavit, if any, were initially due on March 8, 2019.

       3.    On February 25, 2019, Ms. Cooper filed an application

 requesting a stay of the Court’s deadlines contained in the Court’s

 February    8,    2019   Order   [Docket   Item   227],   which   the   County

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 Defendants opposed. [Docket Item 228.] The stay request cited Ms.

 Cooper’s obligations preparing for trial of another case at that

 time. Thereafter, the Court denied Ms. Cooper’s application for a

 temporary stay, but granted her motion to enlarge the time to

 submit opposition to the County Defendants’ fee petition to "the

 date which is fourteen (14) days following the earlier of (a) the

 resolution of Civil No. 14-cv-5169 (RBK) without trial, or (b) the

 completion of trial of that case." [Docket Item 229 at 3.] On March

 7, 2019, the Honorable Robert B. Kugler entered Judgment in that

 case and cancelled the trial set for March 11, 2019. [Civ. No. 14-

 cv-5169, Docket Item 287.] As of March 8, 2019, Ms. Cooper’s

 opposition to the pending fee petition became due on or before

 March 22, 2019, and Ms. Cooper was notified: “There will be no

 further extensions of time granted absent emergency.” [Docket Item

 234.]

       4.    On March 11, 2019, Ms. Cooper filed a second letter

 application seeking an extension of time to respond to the County

 Defendants’ fee petition. [Docket Item 235.] On March 13, 2019,

 the Court denied Ms. Cooper’s request, noting that:

       Ms. Cooper has not remotely demonstrated good cause to
       enlarge the deadline, let alone an emergency, and
       another extension of time is not appropriate in these
       circumstances, particularly in light of the prior
       extension of this deadline and Ms. Cooper’s repeated
       history of missing filing deadlines.




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 [Docket Item 236 at 3.] As the Court stated in this Order,

 “Plaintiff’s      opposition   to   the   County     Defendants’    pending

 application, if any, shall be filed on or before March 22, 2019.”

 [Id.] (emphasis in original).

       5.    March 22, 2019, came and went. Almost two weeks have

 passed since the deadline and Ms. Cooper still has not filed any

 opposition as to the reasonableness of the requested costs and

 attorney’s fees (or a financial affidavit addressing ability to

 pay). The lapse of 40 days to muster opposition to the fee

 application (which the County Defendants prepared using only 24.60

 hours of attorney time as discussed below), has been much more

 than sufficient. The Court therefore deems the County Defendants’

 pending fee petition unopposed.

       6.    The    County   Defendants    have     provided   biographical

 information for each attorney who has worked on this matter and

 detailed records of their attorneys’ hours, rates, and services,

 consistent with Local Rule 54.2. [Docket Item 225-1.] Upon careful

 review of the County Defendants’ comprehensive submission, the

 Court finds that each attorney’s respective billing rate was

 reasonable and consistent with the norm for such services in this

 region. Notably, the Court notes that rates of $200 per hour for

 all attorneys (including Ms. Christine P. O’Hearn, Esq., a seasoned

 litigator with more than twenty-six years of experience), $95 per

 hour for law clerks, and $95 for paralegals are substantially

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 discounted from Brown & Connery, LLP’s usual hourly rates of those

 professionals. [See Docket Item 225 at ¶¶ 9-14.] The Court takes

 judicial notice that these rates are extremely reasonable for

 employment/civil rights litigation of this type in this District,

 see, e.g., Fed. Trade Comm’n v. Circa Direct LLC, 912 F. Supp. 2d

 165, 174 (D.N.J. 2012) (finding reasonable hourly rates of $400

 for senior partners, $275 for associates with four years of

 experience, $200 for associates with one year of experience, $150

 for law clerks, and $100 for paralegals). The Court finds that the

 time spent by each attorney was well-documented (see O’Hearn

 Certification and Ex. A-G attached thereto [Docket Items 225 &

 225-1]), reasonable, and necessarily-incurred in defending the

 County Defendants from Plaintiff’s frivolous claims since October

 9, 2015.

       7.    The Court finds that the total hours claimed in counsel’s

 affidavit for provision of legal services in defending this case

 in the relevant Rule 11 sanction period (namely 388.10 hours for

 attorneys,    27.50   hours    for     law    clerks,   and   1.00   hour   for

 paralegal),     totaling      416.60        hours,   were     well-documented,

 reasonable,     and   necessarily-expended           during   the    litigation

 defending the sanctioned misconduct. The product of the reasonable

 hours times the reasonable rates equals $80,187.50. (O’Hearn Cert.

 at ¶ 22.)



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       8.    Furthermore, the County Defendants seek reimbursement

 for   attorney’s     fees   incurred        in    preparing     their    detailed

 declaration of attorney’s fees and costs. The County Defendants

 have documented 19.00 attorney hours and 5.60 paralegal hours in

 preparing this fee petition as ordered by the Court’s Rule 11

 sanctions Order. These hours, totaling 24.60 hours, are reasonable

 and necessary, and indeed modest, to undertake this task, for which

 the lodestar is $4,332.00. Reasonable attorney’s fees in preparing

 a court-ordered fee petition are reasonable because they are a

 necessary consequence of the sanctioned conduct. See Interfaith

 Cmty. Org. v. Honeywell Int’l, Inc., 2005 WL 1683746, at *8 (D.N.J.

 June 15, 2005) (awarding attorneys full fees for preparation of

 supplemental fee application). In sum, the Court finds the County

 Defendants’ request for attorney’s fees and expenses in the amount

 of $84,519.50 to be reasonable and fair.

       9.    The County Defendants, as permitted by this Court’s

 Order of February 8, 2019, also seek reimbursement of reasonable

 expenses incurred defending this case since October 9, 2015. These

 expenses    have   been   set   forth   in       item-by-item   detail    in   the

 attachments to the O’Hearn Certification and the Court has examined

 them. For out-of-pocket costs expended on behalf of the County

 Defendants, the petition details a total of $4,677.24 during the

 litigation plus $38.00 in connection with the preparation of the

 fee petition, for a total of $4,815.24, which the Court finds

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 reasonably and necessarily expended by the County Defendants on

 account of the sanctioned conduct.

       10.    Therefore, the Court hereby finds that a total award of

 $89,334.54     (consisting       of    $84,519.50      in    attorney’s       fees   and

 $4,815.04 in expenses) is the amount reasonable and necessary to

 address      and     deter     the    misconduct.      Due     to   a    mathematical

 discrepancy,        the   County      Defendants      sought    $100.00      less,   or

 $89,234.54. The Court will reduce the final award accordingly, to

 the amount requested, $89,234.54.

       11.    Mitigation and Aggravation. The Court has considered

 whether factors are present that should mitigate the award and can

 find none.

       12.    First, the Court sua sponte anticipated, without actual

 knowledge, that Plaintiff’s counsel might have a reduced ability

 to pay, and twice the Court invited Ms. Cooper to submit reliable

 financial information about her financial ability, under seal.

 (See Opinion of Feb. 8, 2019 at 15-16 and Order of Feb. 8, 2019 at

 1-2, and the Order of Feb. 27, 2019) (eliminating requirement of

 tax   return       information)).      Ms.   Cooper    submitted        no   mitigating

 financial information.

       13.    Second, Ms. Cooper likewise submitted no objections to

 the hours claimed and fees and expenses sought and the Court’s own

 review      revealed      no   inconsistencies        or     unreasonable      billing

 practices or duplication of efforts. To the contrary, the defense

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 efforts were streamlined, with a single associate (Benjamin Teris,

 Esq.) accounting for 235.10 of the total 416 litigation hours,

 while the lead attorney (Ms. O’Hearn) billed 93.10 hours.

       14.   Third, while any objection to the hourly rates has been

 waived, the Court observes that they are well below market and

 well below the customary rates for the Brown & Connery law firm,

 which has agreed to discount its rates to the public entity of

 Camden County, its officers, and employees. This is well-explained

 in Ms. O’Hearn’s Certification at ¶¶ 9-16. For example, Ms.

 O’Hearn’s usual hourly rate is $350.00 to $425.00; in this case,

 it is $200.00. (Id. at ¶ 9.) Further, the rates for partners,

 associates, law clerks, and paralegals charged to Camden County

 herein are well below area market rates. (See Certification of

 John L. Slimm, Esq. [Docket Item 225-1 at Ex. D].) Mr. Slimm is an

 attorney practicing in New Jersey, largely in complex litigation

 defending professionals, for almost 50 years; he is well qualified

 by his direct experience to express an opinion on market rates for

 counsel in cases of this type. He opines that typical market rates

 for partners of Ms. O’Hearn’s experience range from $325.00 to

 $500.00, and for associates defending employment cases the typical

 range is $200.00 to $300.00. (Id.) I credit Mr. Slimm’s opinions

 as representing the area market for defense counsel defending

 employment cases, and as further proof of the conservative fees

 being charged by Brown & Connery herein.

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       15.   Finally, counsel has certified that Camden County has

 paid these fees, as billed, for the litigation defense and are

 expected to pay the fees for preparation of the fee application.

 A public entity thus has been required to expend approximately

 $90,000 based on the legally-frivolous Second Amended Complaint

 and   the   public   entity   (i.e.,   taxpayers)   is   entitled   to   due

 consideration.

       16.   Conclusion. In short, all these factors support the

 reasonableness of this award and, for the reasons explained above,

 the Court will enter Judgment in favor of the County Defendants

 and against Ms. Cheryl L. Cooper, Esq. and Law Offices of Cheryl

 L. Cooper in the amount of $89,234.74.

       17.   The accompanying Order will be entered.



 April 4, 2019                              s/ Jerome B. Simandle
 Date                                       JEROME B. SIMANDLE
                                            U.S. District Judge




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